Case 0:20-cv-61970-WPD Document 8 Entered on FLSD Docket 10/20/2020 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:20-cv-61970-WPD

 ANDRES GOMEZ,

                Plaintiff,

 vs.

 WARBY PARKER RETAIL, INC.

                Defendant.
                                                      /

                             NOTICE OF SETTLEMENT IN PRINCIPAL

        Plaintiff, through the undersigned attorney, hereby gives notice to the Court that the

 parties have reached an amicable resolution in principal of this dispute. Thus, the parties

 respectfully request thirty (30) from the date below for the parties to memorialize their

 agreement in writing and for Plaintiff to file his Voluntary Notice of Dismissal with Prejudice.

        Dated this 20th day of October, 2020.


 Respectfully Submitted,

                                                      /s/ Alberto R. Leal.
                                                      Alberto R. Leal
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